           Case 3:17-cv-02026-JBA Document 8 Filed 02/02/18 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

   CONFIGAIR LLC,                                       )
                                                        )
                       Plaintiff,                       )
                                                        )
   v.                                                   )     3:17-cv-02026-JBA
                                                        )
                                                        )
   HENRY KURZ                                           )
                                                        )     February 2, 2018
                                                        )
                       Defendants.                      )



                       MOTION TO STAY PENDING ARBITRATION


        Pursuant to the Federal Arbitration Act, 9 U.S.C. §3, the defendant hereby respectfully

requests that this Honorable Court stay the proceedings in the above-captioned matter pending

the outcome of arbitration between the parties on issues, inter alia, relating to the allegations of

the plaintiff’s complaint. The defendant has submitted a demand for arbitration pursuant to the

operating agreement governing the relationship between the parties. Because the operating

agreement makes arbitration the exclusive means for resolution of disputes under it, it is

necessary that the disputes between the parties be resolved by arbitration.

        WHEREFORE the defendant respectfully requests that this Court enter a stay in the

above-captioned matter pending the resolution of claims through arbitration.




                                                    1
          Case 3:17-cv-02026-JBA Document 8 Filed 02/02/18 Page 2 of 2




                                                       Respectfully submitted,

                                                       THE DEFENDANT

                                                       By: /s/ Bruce H. Raymond
                                                       Bruce H. Raymond ct04981

                                                       Raymond Law Group LLC
                                                       90 National Drive, Suite 3
                                                       Glastonbury, CT 06033
                                                       P: 860-633-0580
                                                       F: 860-633-0438
                                                       raymond@raymondlawgroup.com
                                                       Attorneys for Plaintiffs



                                 CERTIFICATE OF SERVICE

   I hereby certify that on this date a copy of foregoing pleading was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the court’s CM/ECF System.


Date: February 2, 2018                                 /s/ Bruce H. Raymond
                                                       Bruce H. Raymond




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